  Case 19-21773      Doc 23   Filed 09/24/19 Entered 09/24/19 13:44:01                Desc Main
                                 Document Page 1 of 1
                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                     Eastern Division

In Re:                                     )               BK No.:     19-21773
Betty J Wines and Robert R. Wines          )
                                           )               Chapter: 13
                                           )
                                                           Honorable Carol A. Doyle
                                           )
                                           )
              Debtor(s)                    )

                                      Order Confirming Plan

       The plan under Chapter 13 of the Bankruptcy code, filed as docket No. 21, having been found
by the Court to comply with the provisions of the 11 U.S.C. section 1325, THE PLAN IS HEREBY
CONFIRMED.




                                                        Enter:


                                                                 Honorable William V. Altenberger
Dated: September 24, 2019                                        United States Bankruptcy Judge
